Case 1:12-cv-00007-SS Document 28-1 Filed 07/31/12

EXHIBIT "A"

Page 1 of 5

To; Stephanie O'RourkeC agg 2019-cv-O0007-SS  Bucunentz28sismrFiled 07/SkFhar@rcdedgyeoh chfom: RUSSELL COOK

NO. D-1-GN-1 1 -000096

CAROLINE CLARK, § IN THE DISTRICT COURT
Plaintiff, §
§
Vv. § 419th JUDICIAL DISTRICT
§
AUSTIN MONTESSORI SCHOOL, INC., §
Defendant. § OF TRAVIS COUNTY, TEXAS
§

PLAINTIFF’S FIRST AMENDED PETITION
COMES NOW Plaintiff, Caroline Clark (“Clark” or “Plaintiff’) and files this First
Amended Petition against Defendant Austin Montessori School, Inc. (*“AMS” or “Defendant”’), and

respectfully shows this Court as follows:

I,
PARTIES, JURISDICTION, AND VENUE
1. Plaintiff intends to conduct discovery under Level 2 of the Texas Rules of Civil
Procedure.

2. Plaintiff Caroline Clark is an individual residing in Dallas, Dallas County, Texas. At
the time of the events giving rise to this suit, Plaintiff was an employee and an eligible employee
within the meaning of 29 U.S.C. § 2611(2),(3).

3. Defendant Austin Montessori School, Inc. is a corporation with its principal place of
business in the State of Texas. This Defendant has been served and has answered. Defendant is an
employer within the meaning of 29 U.S.C. § 2611(4).

4, This Court has subject matter jurisdiction because Plaintiff's damages are in excess
of the minimal jurisdictional limits of the Court.

5, Venue is proper in Travis County, Texas because it is the County in which ali or a
substantial part of the events or omissions giving rise to Plaintiff's claims occurred. TEX. Cry.

Prac, & REM. Cope § 15.002.

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FACTUAL BACKGROUND

6. Plaintiff worked for Defendant as a teacher from 2003 to 2005 and again beginning
in or about August 2008. In or around the end of February or early March 2010, Plaimtitf informed
school administrators that she was pregnant. Subsequently Defendant asked Plaintiff about her
plans for leave and informed her that she would not be allowed to return to her teaching position in
the fall. Defendant’s refusal to continue Plaintiff's employment in the role of teacher is a violation
of TEX. LAB. CODE § 21.051, as well as the prescriptive and proscriptive obligations due to her
pursuant to the Family and Medical Leave Act, 29 U.S.C. § 2612 ef seq., and specifically, 29 U.S.C.
§§ 2612(a), 2614(a), and 2615 thereof,

UI.
CAUSE OF ACTION

7. Plaintiff adopts and incorporates herein by reference all preceding paragraphs.

8. Plaintiff brings this action on the basis that she was discriminated against on the
basis of her sex (pregnancy) in violation of TEx. Las. CODE § 21.031.

9. Plaintiff also brings this action on the basis of Defendant’s violation of the Family
andMedical Leave Act, 29 U.S.C. § 2612 e seq., and specifically, 29 U.S.C. § 2612(a), 2614(a),
and 2615.

IV.
CONDITIONS PRECEDENT

10. All conditions precedent to Plaintiff's claim for relief have been performed or have
occurred. Plaintiff has exhausted all administrative remedies by filing a complaint with the Texas
Workforce Commission, receiving a right to sue letter from the Texas Workforce Commission, and

filing suit within 60 days of receipt of that letter.

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DEMAND FOR JURY TRIAL

ll. Plaintiff demands a jury trial and has tendered the appropriate fee with her original
petition.

YI.
DAMAGES

12. As a result of the above mentioned facts, Plaintiff has suffered damages in an

amount in excess of the minimum jurisdictional limits of the Court.

13. Plaintiff demands judgment in her favor and requests the following relief against the
Defendant:
a. All actual damages, including but not limited to past and future lost wages, past and

future lost benefits, including front pay and back pay;
b. Compensatory damages;
c. Liquidated damages as allowed under the FMLA;
a. Punitive damages;
&. Pre-judgment and post-judgment interest as allowed by law;
f Attorneys’ fees and expert fees;
g. Court costs and expenses;
h. Equitable relief, including front pay and back pay;
i. Any such further relief as the Cot deems proper and just under the circumstances.

Vili.
PRAYER

15. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited

to appear and answer herein, and that upon trial by a jury or this Court, Plaintiff be granted

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judgment against Defendant as requested herein, and for such other and further relief, both general

and special, at law and in equity, to which Plaintiff may be shown justly entitled.

Respectfully submitted,

THE COOK LAW FIRM

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COUNSEL FOR PLAINTIFF

CERTIFICATE OF SERVICE

I hereby certify that on this 8th day of December 2011, I sent by facsimile a true and correct copy of
the above and foregoing document to counsel as follows:

Stephanie O’Rourke Via Facsimile
Cokinos Bosien & Young

10999 West TH-10, Ste. 800

San Antonio, TX 78230

Melissa A. Jacobs

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